              18-23309-rdd            Doc 1       Filed 08/27/18            Entered 08/27/18 16:47:46                   Main Document
                                                                           Pg 1 of 17
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Provant Health Solutions, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  560 N. Rogers Road
                                  Olathe, KS 66062
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnson                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.provanthealth.com/hooperholmes


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                              Pg 2 of 17    Case number (if known)
          Provant Health Solutions, LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5419

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                Relationship              Affiliate
                                                             Southern District of
                                                  District   New York                      When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                                           Pg 3 of 17    Case number (if known)
         Provant Health Solutions, LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                          Pg 4 of 17    Case number (if known)
          Provant Health Solutions, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        08/27/2018
                                                  MM / DD / YYYY


                             X   /s/ Kevin Johnson                                                       Kevin Johnson
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Richard James Bernard                                                Date    08/27/2018
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Richard James Bernard 4047056
                                 Printed name

                                 Foley & Lardner - New York
                                 Firm name

                                 90 Park Avenue
                                 New York, NY 10016-1314
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-682-7474                  Email address      rbernard@foley.com

                                 4047056 NY
                                 Bar number and State




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                                                                           Pg 6 of 17


      Fill in this information to Identify the case:

      Debtor Name: HOOPER HOLMES, INC., et al
                                                                                                                                          Check if this is an
      United States Bankruptcy Court for the:        Southern District of New York                                                        amended filing
      Case Number (If known):         18-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing         Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                   and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                           professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                           services, and         or disputed     setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if       Deduction          Unsecured
                                                                                                                 partially secured     for value of       claim
                                                                                                                                       collateral or
                                                                                                                                       setoff

  1       MOORE MEDICAL                          PHONE: 800-234-1464       TRADE DEBT                                $4,044,334.66                           $4,044,334.66
          1690 NEW BRITAIN AVE                   mmregulatoryaffairs@moore
          FARMINGTON, CT 06032                   medical.com
  2       CANTOR FITZGERALD & CO.                CONTACT: DAVID A. PAUL    LITIGATION                CUD             $3,961,000.00                           $3,961,000.00
          110 EAST 59TH ST., 7TH FL              PHONE: 212-610-2298
          NEW YORK, NY 10022                     dpaul@cantor.com
  3       MINUTECLINIC DIAGNOSTIC                CONTACT: ANNE LIGHTFOOT TRADE DEBT                                  $1,582,139.45                           $1,582,139.45
          ONE MINUTECLINIC DRIVE, MAIL           PHONE: 866-389-2727
          STOP: 100 SVD                          FAX: 401-216-0166
          WOONSOCKET, RI 02895                   VACCINECONTRACTING@CVS
                                                 CAREMARK.COM


  4       LABORATORY CORPORATION                 CONTACT: PAMELA           TRADE DEBT                                $1,412,622.75                           $1,412,622.75
          LAW DEPARTMENT                         EDWARDS
          531 SOUTH SPRING STREET                PHONE: 336-229-1127
          BURLINGTON, NC 27215
  5       SPENCER FANE BRITT & BROWNE            CONTACT: NATHAN A. ORR    TRADE DEBT                                  $830,677.17                             $830,677.17
          1000 WALNUT ST                         PHONE: 816-474-8100
          STE 1400                               FAX: 816-474-3216
          KANSAS CITY, MO 64106                  NORR@SPENCERFANE.COM
  6       ABRIELLA LANIER                        CONTACT: HERNALDO J.      SETTLEMENT                                  $750,000.00                             $750,000.00
          C/O BALTODANO & BALTODANO LLP          BALTODANO                 AGREEMENT
          733 MARSH ST., STE 110                 PHONE: 805-322-3412
          LOS ANGELES, CA 90071                  FAX: 805-322-3413
                                                 INFO@BALTODANOFIRM.CO
                                                 M
  7       OPTISOM, LLC                           PHONE: 619-299-6299       TRADE DEBT                                  $658,419.26                             $658,419.26
          2525 CAMINO DEL RIO SOUTH #270         infO@optisom.com
          SAN DIEGO, CA 92108



Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 1
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                                                                     Pg 7 of 17
  Debtor: HOOPER HOLMES, INC., et al                                                         Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  8     CLINICAL REFERENCE LABORATORY      PHONE: 913-492-3652        TRADE DEBT                                 $598,074.26                             $598,074.26
        8433 QUIVIRA RD                    FAX: 913-492-6753
        LENEXA, KS 66215
  9     ENGAGE2EXCEL                       CONTACT: EMILY GATTON      TRADE DEBT                                 $581,573.27                             $581,573.27
        149 CRAWFORD ROAD                  PHONE: 508-222-2900
        STATESVILLE, NC 28625              FAX: 508-222-7089
  10    HENRY DUBOIS                       PHONE: 703-942-5488        EMPLOYMENT                                 $429,000.00                             $429,000.00
        894 CENTRILLION DRIVE                                         AGREEMENT
        MCLEAN, VA 22102
  11    HANSON MEDICAL SYSTEMS             PHONE: 407-671-3883        LITIGATION                D                $315,961.34                             $315,961.34
        1954 HOWELL BRANCH ROAD            FAX: 407-671-4403
        SUITE 203                          abrown@hansonmed.com
        WINTER PARK, FL 32792
  12    BLUE CROSS BLUE SHIELD OF KC       PHONE: 816-395-3558        TRADE DEBT                                 $286,561.67                             $286,561.67
        2301 MAIN STREET
        KANSAS CITY, MO 64108
  13    WELLNESS CORPORATE SOLUTIONS       PHONE: 301-229-7555         TRADE DEBT                                $285,798.21                             $285,798.21
        PO BOX 56346                       info@wellnesscorporatesolut
        ATLANTA, GA 30343                  ions. Com
  14    UNITED PARCEL SERVICE              CONTACT: FELICIA ADKINS    TRADE DEBT                                 $259,458.40                             $259,458.40
        ATTN: CONTRACTS                    PHONE: 630-213-9450
        12380 MORRIS RD
        ALPHARETTA, GA 30005
  15    QUEST DIAGNOSTICS                  PHONE: 404-221-0973        TRADE DEBT                                 $253,665.00                             $253,665.00
        550 WEST PEACHTREE STREET
        NORTHWES
        STE 1775
        ATLANTA, GA 30308
  16    FEDEX                              CONTACT: ATTN: GENERAL     TRADE DEBT                                 $222,661.95                             $222,661.95
        THREE GALLERIA TOWER               COUNSEL
        13155 NOEL ROAD                    PHONE: 412-391-2014
        DALLAS, TX 75240                   LEGAL.CAESALES@FEDEX.CO
                                           M
  17    AMERICAN EXPRESS                   PHONE: 214-742-8200        TRADE DEBT                                 $173,405.26                             $173,405.26
        1321 COMMERCE ST
        DALLAS, TX 75202
  18    STEVEN BALTHAZOR                   PHONE: 1-800-528-2122      EMPLOYMENT                                 $142,811.48                             $142,811.48
        3092 NOBLE COURT                                              AGREEMENT
        BOULDER, CO 80301
  19    SALESFORCE.COM INC                 PHONE: 1-888-747-9736      TRADE DEBT                                 $142,571.72                             $142,571.72
        THE LANDMARK @ ONE MARKET
        SUITE 300
        SAN FRANCISCO, CA 94105
  20    ZIPONGO, INC.                      CONTACT: SCOTT E. SMITH    TRADE DEBT                                 $141,611.60                             $141,611.60
        901 BATTERY ST., STE 250           PHONE: 415-729-5433
        SAN FRANCISCO, CA 94111            SCOTT.SMITH@ZIPONGO.CO
                                           M
  21    HALLMARK                           CONTACT: LEA SCOTT         TRADE DEBT                                 $132,625.50                             $132,625.50
        2501 MCGEE TRAFFICWAY,             PHONE: 816-274-3524
        MD 510                             LEA.SCOTT@HALLMARK.CO
        KANSAS CITY, MO 64141              M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
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  Debtor: HOOPER HOLMES, INC., et al                                                          Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  22    RICHA AHUJA                        CONTACT: ALEXEI            SETTLEMENT                                  $120,050.00                             $120,050.00
        C/O KLEIN LAW GROUP, LLP           KUCHINSKY                  AGREEMENT
        4 EMBARCADERO CTR, STE 3900        PHONE: 415-693-9107
        SAN FRANCISCO, CA 94111            FAX: 415-693-9222
  23    ALLIED GLOBAL SERVICES, LLC        PHONE: 913-253-7000        TRADE DEBT                                  $119,881.69                             $119,881.69
        10901 W 84TH TERR #220
        LENEXA, KS 66214
  24    GRANT THORNTON LLP                 PHONE: (703) 847-7500      TRADE DEBT                                  $114,340.00                             $114,340.00
        33960 TREASURY CENTER              FAX: (703) 848-9580
        CHICAGO, IL 60694-3900
  25    COLLEGE CROSSING EFGH, LLC         CONTACT: KELLY D. STOHS    SETTLEMENT                                  $111,650.00                             $111,650.00
        C/O POLSINELLI PC                  PHONE: 913-234-7512        AGREEMENT
        6201 COLLEGE BLVD, STE 500         FAX: 913-451-6205
        OVERLAND PARK, KS 66211            KSTOHS@POLSINELLI.COM
  26    ND DATA GROUP OF RI                CONTACT: TOM ANDERSON      TRADE DEBT                                  $105,075.25                             $105,075.25
        1459 STUART ENGLAS BLVD            PHONE: 843-284-0080
        SUITE 303
        MOUNT PLEASANT, SC 29464
  27    NETANIUM                           CONTACT: JUSTIN SAKOVITZ   TRADE DEBT                                  $101,293.60                             $101,293.60
        116 JOHN STREET                    PHONE: 1-888-638-6638
        SUITE 110                          JSAKOVITZ@NETANIUM.CO
        LOWELL, MA 1852                    M
  28    NYSE MARKET                        PHONE: 1-212-656-5505      TRADE DEBT                                   $93,281.48                              $93,281.48
        11 WALL STREET
        NEW YORK, NY 10005
  29    ELIASSEN GROUP LLC                 PHONE: 800-354-2773        TRADE DEBT                                   $91,960.00                              $91,960.00
        55 WALKERS BROOK DRIVE             solutions@eliassen.com
        6TH FLOOR
        READING, MA 1867
  30    AT&T CORP.                         CONTACT: KAREN             SETTLEMENT                                   $91,824.90                              $91,824.90
        ONE AT&T WAY, ROOM 3A176           CAVAGNARO
        BEDMINSTER, NJ 07921               PHONE: 908 234-6150
                                           KM1426@ATT.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 3
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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        -----------------------------------------------------------------x
        In re:                                                          :
                                                                           Chapter 11
                                                                        :
        PROVANT HEALTH SOLUTIONS, LLC,                                  :
                                                                           Case No. 18-_____(___)
                                                                        :
                          Debtor.                                       :
                                                                        :
        -----------------------------------------------------------------x


                                     LIST OF EQUITY SECURITY HOLDERS1



         Debtor                         Equity Holder                  Address of Equity Holder          Percentage of
                                                                                                         Equity Held
         Provant Health                 Hooper Holmes, Inc.            560 N. Rogers Road                100%
         Solutions, LLC                                                Olathe, KS 66286




        1
         This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
        Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.

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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        -----------------------------------------------------------------x
        In re:                                                           :
                                                                           Chapter 11
                                                                         :
        PROVANT HEALTH SOLUTIONS, LLC,                                   :
                                                                           Case No. 18-_____(___)
                                                                         :
                          Debtor.                                        :
                                                                         :
        -----------------------------------------------------------------x


                                   CORPORATE OWNERSHIP STATEMENT

                Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
        the following are corporations, other than a government unit, that directly or indirectly own 10%
        or more of any class of the debtor’s equity interest:

        Shareholder                                           Approximate Percentage of Shares Held
        Hooper Holmes, Inc.                                   100%




4822-4134-0784.1
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 Fill in this information to identify the case:

 Debtor name         Provant Health Solutions, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders and Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          08/27/2018                              X /s/ Kevin Johnson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kevin Johnson
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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                                ACTION OF SOLE MEMBER

                                               OF

                          PROVANT HEALTH SOLUTIONS, LLC




              THE UNDERSIGNED, being the sole member of Provant Health Solutions,
LLC (the “Company”), a Rhode Island limited liability company, acting pursuant to applicable
law hereby adopts the following resolutions as of the date set forth below:

                WHEREAS, the undersigned has reviewed and considered the financial and
operational condition of the Company and the Company’s business on the date hereof, including
the historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company, the market for the Company’s products and services, and credit
market conditions; and

               WHEREAS, the undersigned has received, reviewed, and considered the
recommendations of the senior management of the Company and the Company’s legal, financial,
and other advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding under
the provisions of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy
Code”).

               NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the
undersigned, it is desirable and in the best interests of the Company, its creditors, and member,
that a voluntary petition (the “Voluntary Petition”) be filed by the Company under the
provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”); and be it

               FURTHER RESOLVED, that the Company shall be, and it hereby is, directed
and authorized to execute and file on behalf of the Company all petitions, schedules, lists, and
other papers or documents, and to take any and all action which it deems reasonable, advisable,
expedient, convenient, necessary, or proper to obtain such relief; and be it

                FURTHER RESOLVED, that Mark Clermont and any officer or manager of
the Company and any of their designees (collectively, the “Designated Persons”), be and each of
them, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of the Company (i) to execute and verify the Voluntary Petition as
well as all other ancillary documents and to cause the Voluntary Petition to be filed with the
Bankruptcy Court, commencing a chapter 11 case (the “Bankruptcy Case”) and to make or
cause to be made prior to the execution thereof any modifications to the Voluntary Petition or
ancillary documents, and (ii) to execute, verify, and file or cause to be filed all petitions,
schedules, lists, motions, applications, and other papers or documents necessary or desirable in
connection with the foregoing; and be it
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                FURTHER RESOLVED, that the law firm of Foley & Lardner LLP (“Foley &
Lardner”) be, and hereby is, authorized and empowered to represent the Company as its general
bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights, including
the preparation of pleadings and filings in the Bankruptcy Case; and in connection therewith, the
Designated Persons be and each of them, acting alone or in any combination, hereby is,
authorized, directed, and empowered, on behalf of and in the name of the Company to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Bankruptcy Case, and to cause to be filed an appropriate application for authority to
retain the services of Foley & Lardner; and be it

                FURTHER RESOLVED, that the law firm of Halperin Battaglia Benzija, LLP
(“Halperin”) be, and hereby is, authorized and empowered to serve as conflicts counsel to the
Company, and to represent and assist the Company as conflicts counsel in connection with the
Bankruptcy Case and to take any and all actions to advance the Company’s rights in the event
that Foley & Lardner is unable to represent the Company due to any conflicts; and in connection
therewith, the Designated Persons be and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate application for
authority to retain the services of Halperin; and be it

               FURTHER RESOLVED, that the law firm of Spencer Fane LLP (“Spencer
Fane”) be, and hereby is, authorized and empowered to serve as securities counsel to the
Company in connection with the Bankruptcy Case, and to represent and assist the Company in
considering corporate governance matters and to advise on such other matters as requested by
the Company’s managers; and, in connection therewith, the Designated Persons be and each of
them, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of the Company to execute appropriate retention agreements, pay
appropriate retainers, if required, prior to and immediately upon the filing of the Bankruptcy
Case, and to cause to be filed an appropriate application for authority to retain the services of
Spencer Fane; and be it

                FURTHER RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”) be,
and hereby is, authorized and empowered to serve as the notice, claims, solicitation, and
balloting agent in connection with the Bankruptcy Case commenced by the Company under the
Bankruptcy Code; and in connection therewith, the Designated Persons be and each of them,
acting alone or in any combination, hereby is, authorized, directed, and empowered, on behalf of
and in the name of the Company to execute appropriate retention agreements, pay appropriate
retainers, if required, prior to and immediately upon the filing of the Bankruptcy Case, and to
cause to be filed an appropriate application for authority to retain the services of Epiq; and be it

               FURTHER RESOLVED, that Phoenix Management Services (“Phoenix”) be,
and hereby is, authorized and empowered to serve as financial advisor to represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company’s rights and obligations in connection with the Bankruptcy Case; and in
connection therewith, the Designated Persons be and each of them, acting alone or in any


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combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of
the Company to execute appropriate retention agreements, pay appropriate retainers, if required,
prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed an
appropriate application for authority to retain the services of Phoenix; and be it

               FURTHER RESOLVED, that Raymond James & Associates, Inc. (“Raymond
James”) be, and hereby is, authorized and empowered to serve as investment banker and
financial adviser, to represent and assist the Company in considering restructuring alternatives,
undertaking sales of assets, obtaining financing, and carrying out its duties under the Bankruptcy
Code and in connection with the Bankruptcy Case; and in connection therewith, the Designated
Persons be and each of them, acting alone or in any combination, hereby is, authorized, directed,
and empowered, on behalf of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately upon the filing of the
Bankruptcy Case, and to cause to be filed an appropriate application for authority to retain the
service of Raymond James, including pursuant to Section 327 of the Bankruptcy Code; and be it

                FURTHER RESOLVED, that the Designated Persons be, and each of them,
acting alone or in any combination, hereby is, authorized, directed, and empowered, on behalf of
and in the name of the Company to employ any other individual and/or firm as professionals or
consultants or financial advisors to the Company as are deemed necessary to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and in connection therewith,
the Designated Persons be and each of them, acting alone or in any combination, hereby is,
authorized, directed, and empowered, on behalf of and in the name of the Company to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Bankruptcy Case, and to cause to be filed one or more appropriate applications for
authority to retain the services of such firms; and be it

                FURTHER RESOLVED, that the Designated Persons be, and each of them
acting alone or in any combination is, hereby authorized, directed, and empowered from time to
time in the name and on behalf of the Company, to perform the obligations of the Company
under the Bankruptcy Code, with all such actions to be performed in such manner, and all such
certificates, instruments, guaranties, notices, and documents to be executed and delivered in
such form, as the officer performing or executing the same shall approve, and the performance
or execution thereof by such officer shall be conclusive evidence of the approval thereof by such
officer and by the Company; and be it

                 FURTHER RESOLVED, that the Designated Persons be, and each of them,
acting alone or in any combination, hereby is, authorized, directed, and empowered, on behalf of
and in the name of the Company to obtain post-petition financing according to terms negotiated,
or to be negotiated, by the management of the Company, including under debtor-in-possession
credit facilities or relating to the use of cash collateral; and to enter into any guarantees and to
pledge and grant liens on its assets as may be contemplated by or required under the terms of
such post-petition financing or cash collateral agreements; and in connection therewith, the
Designated Persons are hereby authorized and directed to execute appropriate loan agreements,
cash collateral agreements, and related ancillary documents; and be it




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                FURTHER RESOLVED, that the Designated Persons be, and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Company, to secure the payment and performance of any post-petition
financing by (i) pledging or granting liens or mortgages on, or security interests in, all or any
portion of the Company’s assets, including all or any portion of the issued and outstanding
capital stock or membership interests of any subsidiaries of the Company, whether now owned
or hereafter acquired, and (ii) entering into or causing to be entered into such security
agreements, pledge agreements, control agreements, inter-creditor agreements, mortgages, deeds
of trust, and other agreements as are necessary, appropriate or desirable to effectuate the intent
of, or matters reasonably contemplated or implied by, this resolution in such form, covering such
collateral and having such other terms and conditions as are approved or deemed necessary,
appropriate, or desirable by the officer executing the same, the execution thereof by such officer
to be conclusive evidence of such approval or determination; and be it

                 FURTHER RESOLVED, that the Designated Persons be, and each of them
acting alone or in any combination is, hereby authorized, directed, and empowered from time to
time in the name and on behalf of the Company, to (a) take such further actions and execute and
deliver such certificates, instruments, guaranties, notices, and documents as may be required or
as such officer may deem necessary, advisable, or proper to carry out the intent and purpose of
the foregoing resolutions, including the execution and delivery of any security agreements,
pledges, financing statements, and the like, and (b) perform the obligations of the Company
under the Bankruptcy Code, with all such actions to be performed in such manner, and all such
certificates, instruments, guaranties, notices, and documents to be executed and delivered in such
form, as the officer performing or executing the same shall approve, and the performance or
execution thereof by such officer shall be conclusive evidence of the approval thereof by such
officer and by the Company; and be it

                FURTHER RESOLVED, that the Designated Persons be, and each of them
acting alone is, hereby authorized, directed, and empowered from time to time in the name and
on behalf of the Company, to adopt resolutions and otherwise exercise the rights and powers of
the Company as such Designated Person may deem necessary, appropriate or desirable (i) as a
member or manager (however denominated) of the direct and indirect subsidiaries of the
Company that are limited liability companies (if any), (ii) as general partner or limited partner
of the direct and indirect subsidiaries of the Company that are limited partnerships (if any), and
(iii) as a stockholder of the direct and indirect subsidiaries of the Company that are
corporations (if any); and that thereupon such resolutions shall be deemed adopted as and for
the resolutions of each such subsidiary of the Company.

                                           Asset Sale

                 WHEREAS, the Company intends to sell substantially all of its assets in
connection with the Bankruptcy Case under chapter 11 of the Bankruptcy Code pursuant to
that certain Asset Purchase Agreement by and among Summit Health, Inc. and the Company
and its affiliates, along with any ancillary documents and agreements thereto in substantially
the form reviewed by the managers in connection with these resolutions (collectively, the
“Purchase Agreement”), which Purchase Agreement shall be subject to higher and better bids
at an auction, if necessary, and Bankruptcy Court approval; and


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               WHEREAS, the managers hereby find, determine, and conclude that it is
desirable and in the best interests of the Company and its subsidiaries and its shareholders,
creditors, and other interested parties, that the Designated Persons execute and enter into the
Purchase Agreement on behalf of the Company.

               NOW, THEREFORE, BE IT RESOLVED, that the Designated Persons be,
and each of them hereby is, authorized to execute and enter into the Purchase Agreement on
behalf of the Company and sell substantially all of the Company’s assets free and clear of all
liens, claims and encumbrances under Section 363 of the Bankruptcy Code, subject to higher
and better bids at an auction, if necessary, and Bankruptcy Court approval, as may be required
by the Bankruptcy Code, and as may be deemed necessary and proper in connection with the
Bankruptcy Case by any of the Designated Persons; and be it

                FURTHER RESOLVED, that the Designated Persons be, and each of them
hereby is, authorized to execute, verify and/or file or cause to be filed and or executed or
verified (or direct others to do so on their behalf as provided herein) all necessary documents
including, without limitation, all schedules, motions, lists, pleadings and other papers,
including, without limitation, a motion to sell some or substantially all of the Company’s
assets under Section 363 of the Bankruptcy Code, and to take any and all actions which they
deem necessary and proper in connection with the consummation of sale contemplated by the
Purchase Agreement.

                                         Other Acts

                FURTHER RESOLVED, that all of the acts and transactions relating to matters
contemplated by the foregoing resolutions, which acts would have been approved by the
foregoing resolutions except that such actions were taken prior to the execution of these
resolutions, are hereby in all respects confirmed, approved, and ratified.

                                    [Signature page follows.]




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